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13                            UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15
16   NATURAL ALTERNATIVES                     Case No. 16-cv-02146-H-AGS
     INTERNATIONAL, INC.,
17                                            NOTICE OF APPEAL
                 Plaintiff,
18
                 v.                           District Judge:   Hon. Marilyn L. Huff
19
     CREATIVE COMPOUNDS, LLC,
20   CORE SUPPLEMENT
     TECHNOLOGIES, INC., HONEY
21   BADGER LLC, MYOPHARMA,
     INC., and DOES 1-100,
22
                 Defendants.
23
24
25         Notice is hereby given that Plaintiff, Natural Alternatives International, Inc.,
26   hereby appeals to the United States Court of Appeals for the Federal Circuit from the
27   District Court’s Final Judgment entered in this proceeding on November 29,
28   2017 (Dkt. No. 101), including without limitation, the Order granting Defendant
                                           1           Case No. 16-cv-02146-H-AGS
                               PLAINTIFF’S NOTICE OF APPEAL
Case 3:16-cv-02146-H-AGS Document 103 Filed 12/08/17 PageID.1465 Page 2 of 2



1    Creative Compounds, LLC’s Rule 12(c) motion for judgment on the pleadings (Dkt.
2    No. 89).
3
4    Dated: December 8, 2017             WILSON TURNER KOSMO LLP
5
                                         By: s/Frederick W. Kosmo, Jr.
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                                       2           Case No. 16-cv-02146-H-AGS
                           PLAINTIFF’S NOTICE OF APPEAL
